

People v Alston (2021 NY Slip Op 02716)





People v Alston


2021 NY Slip Op 02716


Decided on April 30, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 30, 2021

PRESENT: WHALEN, P.J., CENTRA, NEMOYER, CURRAN, AND WINSLOW, JJ. (Filed Apr. 30, 2021.) 


MOTION NO. (5/19) KA 16-01991.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vRAYMOND ALSTON, ALSO KNOWN AS RAYMOND AUSTIN, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








